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                   IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

   HEIDI PURCELL, et al.,                      CIV. NO. 1:17-00493-JAO-RT

               Plaintiffs,                     DEFENDANTS’ CROSS-MOTION
                                               FOR SUMMARY JUDGMENT;
         v.                                    MEMORANDUM OF LAW

   XAVIER BECERRA, et al.,                     Judge: Hon. Jill A. Otake
                                               Hearing Date: To be set after March
               Defendants.                     14, 2025
                                               Trial Date: Vacated



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        Pursuant to Federal Rule of Civil Procedure 56, Defendants Xavier Becerra,

  the U.S Food and Drug Administration, and Robert M. Califf, respectfully move

  for summary judgment on all claims. The reasons for this Motion are fully set forth

  in the accompanying Memorandum of Law.

  Dated: December 3, 2024                      Respectfully submitted,

                                               /s/ Noah T. Katzen
                                               NOAH T. KATZEN
                                               Consumer Protection Branch
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                                               Attorney for Defendants Xavier
                                               Becerra, in his official capacity as
                                               Secretary, U.S. Department of Health
                                               and Human Services; U.S. Food and
                                               Drug Administration; and Robert M.
                                               Califf, in his official capacity as
                                               Commissioner of Food and Drugs




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